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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

    WYNDHAM VACATION
    OWNERSHIP, INC., et al.,

           Plaintiffs,

    v.                                                      Case No. 8:19-cv-1895-T-36CPT

    THE MONTGOMERY
    LAW FIRM, LLC, et al.,

          Defendants.
    _______________________/

                                            ORDER

           Before the Court are Plaintiffs’ Motion for Leave to Exceed the Current Deposition

    Limit and the Motion to Withdraw as Counsel for Certain Defendants filed by Defendants

    the Montgomery Law Firm, LLC, Montgomery & Newcomb, LLC, M. Scott

    Montgomery, Esq., W. Todd Newcomb, Esq., and Donnelly Snellen. (Docs. 254,

    264). The Court held a hearing on these motions on April 21, 2020. For the reasons

    stated on the record at the hearing, it is hereby ORDERED:

           1.      Plaintiffs’ Motion for Leave to Exceed the Current Deposition Limit (Doc. 254)

    is granted. The Plaintiffs have made the required showing as to why more than ten

    (10) depositions per side is necessary. See Ariel Syndicate 1910 v. Paramount Disaster

    Recovery, LLC, 2018 WL 1988866, at *2 (M.D. Fla. Jan. 4, 2018); United States v.

    Gachette, 2015 WL 524369, at *1 (M.D. Fla. Feb. 9, 2015); Tardif v. People for the Ethical
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    Treatment of Animals, 2011 WL 2413630, at *1 (M.D. Fla. June 13, 2011); Safeco Ins.

    Co. of Am. v. City of Jacksonville, Fla., 2011 WL 13176635, at *2 (M.D. Fla. Apr. 20,

    2011). Accordingly, both sides (the Plaintiffs and the Defendants) shall be allowed to

    depose: (a) each named party; (b) up to fifteen (15) Wyndham time share owners; and

    (c) up to seven (7) non-parties who are not Wyndham time share owners. The

    depositions of the Wyndham time share owners shall be limited to no more than two

    (2) hours each.

           2.     The Motion to Withdraw as Counsel for Certain Defendants (Doc. 264) is

    granted. The Clerk of Court is directed to terminate attorneys Coleman W. Watson

    and Leia V. Leitner of the law firm of Watson, LLP, as counsel of record for the

    Montgomery Law Firm, LLC, Montgomery & Newcomb, LLC, M. Scott

    Montgomery, Esq., W. Todd Newcomb, Esq., and Donnelly Snellen.

           3.     In accordance with Local Rule 2.02(a), attorney Robert M. Ward, who

    has been admitted pro hac vice, shall have thirty (30) days from the date of this Order

    to file a written designation as to who shall serve as local counsel for the Montgomery

    Law Firm, LLC, Montgomery & Newcomb, LLC, M. Scott Montgomery, Esq., W.

    Todd Newcomb, Esq., and Donnelly Snellen. M.D. Fla. R. 2.02(a). Failure to obtain

    local counsel may result in Ward’s appearance being stricken.

           DONE and ORDERED in Tampa, Florida, this 23rd day of April 2020.




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    Copies to:
    Counsel of record
    Pro se parties




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